                      Case 2:16-cr-00055-RBS-DEM Document 42 Filed 07/02/18 Page 1 of 2 PageID# 246

             AO 442 (Rev, 11/11) Arrest Warrant                                                                   ORieiNAL
                                                        United States District Court
                                                                                  for the                                            D oM
                                                                     Eastern District of Virginia


                                   United States of America
                                               V.

                                      SHAKIRMCNEAL                                           Case No. 2:16cr55
                                                                                                                                              cz
                                                                                                                                              X
                                                                                                                       -V      ID
                                                                                                                                              m
                                                                                                                                              o
                                                                                                                                              C/>50
                                                                                                                                         CO   -4rn
                                            Defendant
                                                                                                                                         ro

                                                                    ARREST WARRANT
                                                                                                                                         V
             To:           Any authorized law enforcement officer
                                                                                                                          o     o               X
                                                                                                                          21     -4      UJ     5>

                           YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
             (name ofperson to be arrested)         SHAKIR MCNEAL
             who is accused of an offense or violation based on the following document filed with the court:

             □ Indictment               □ Superseding Indictment             □ Information     □ Superseding Information             □ Complaint
             □ Probation Violation Petition               □ Supervised Release Violation Petition        □ Violation Notice              Order of the Court

             This offense is briefly described as follows:
               The court directs that a warrant issue for defendant for failure to appear on Thursday February 8, 2018 at 2:00 p.m., as
               directed.
               BOND RECOMMENDATION: DETENTION

               Original Charge: Count One: T.18:1343 and 2, T.18:1349 - Conspiracy to Commit Wire Fraud, et al/Criminal Forfeiture
               T.18:1343 and 1349 pursuant to T.18:981(a){1)(C) and T.28:2461(c), U.S.C. Section 853(p).


             Date:             02/08/2018
                                                                                                          Issuing ojfichr's signature

             City and state:          Norfolk. Virginia                                      Rebecca Beach Smith, Chief U.S. District Judge
                                                                                                            Printed name and title



                                                                                  Return


                           This warrant was received on (date)         12,             s and the person was arrested on (date)
             fitfcity and state)


             Date:
                                                                                                         Arresting officer's signature
*. t '
 V"      .


                                                                                                            Printed name and title


                   "<■1*
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         Case 2:18-mj-01521-DUTY Document 1 Filed 06/13/18 Page 1 of 1 Page ID #:1


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                                                                                              ^               \ .'.MOL'.l'i
                                      UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                                                            .paJAJ2
                                                                  CASt NUMBER
                                               Ccty

                                                l'l.AIN rin-(S)                 a- ifctf-ss

                                                                                       MJ 18-1521
                                                                                       AFFIDAVIT RE
                                              DtlENDANIXS).                  OUT-OF-DISTRICT WARRANT




The above-named defendant was charged by:                                                         t
in the                                   District of                                        on                        ^0/^
at          I      O a.m./^^.m. Xibc offense was allegedly committed on or about                       1 / J--e;I ^
    iolation
in violation    ofTitle          )a                         U.S.C., Section(s) IZQv'                       *7^1
to wit


A warrant for defendant's arrest was issued by: Q.^?.\")iLCCCL
Bond of$                                 was □ set / ^-fecommended.
Type of Bond:

Relevant document(s) on hand (attach):



I swear that the foregoing is true and correct to the best of my
                                                              lllj^ knowledge.
                                                                    MIUWICUU*..



Sworn to before me, ryi^i^ubscr^d                     ncc on       Ut5jm/^                                              ->by

                lL                                                  , Deputy Clerk .


                                       1227
                                                                            ?' ■€-/      L-Cf f                   ■
^nature of Agent                                                    Print Name of Agent


                                                                         fr /-T<i /
                                                                     -^'Prc
Agency                                                              Till6



CR-52 (05/98)                           AFFIDAVIT RE Oinr-OF-DISTRICT WARRANT
